Case: 1:13-€r-00109-TWF§9@§§§%M§§5W 1 of 1 PAGE|D #: 563

SOUTHERN DISTRICT OF OHIO

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
PIaintiff,
Case No. 1:180r109-12
v. (J. Black ; Litkovitz, MJ )
SETH NAZAT,
Defendant.

CRIMINAL MINUTES before
Magistrate Judge Karen L. Litkovitz

Courtroom Deputy: Arthur Hill

Court Reporter: Official Reporterf u/¢g, l//D ('p¢,/
Date/Time: Aprils, 2019 at 2. WPM

United States Attomey: /Vl€‘{'{¢i¢»w/ 5¢`/1 er Defendant Attorney:
Inin`al Appenrance Heart'ng on ll Complaint; [X} Indictment; [] Informatr‘on; or ff petition for probation / supervised release;
[] retrial release vinlation; [] Rule 5(c)(3) proceedings out of the District of

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l ounsel present

[ §efendant informed of his f her rights

{,, efendant provided copy of charging document

[ ] Govemment moves for defendant to be detained pending detention hearing
[ ] Finaneial affidavit presented to the Coui't/Defenclant

[ ] Counsel previously appointed

Detention Hearr'ng.' [ ] Defendant to be detained pending trial pursuant to pretrial detention order
nclant Witness

Pl 'ntiff` Wit ess {l:)?e:
{.jz)R Q£ecured with le tronie Monitor f~}/Dther ` é’p.;)
ial Conditions of Rele Pretrial/Probation Supervisin rug testing & Treatment aintain employment & verify

SP
~{.]Z:frain from alcohol{qé¢sr cotic drugs unless prescribedp]‘€ se of firearms l ] Travel Restricted to 05 `D
/\ [ l
[] axde ivan W‘a,y
hhng “{"PIEJ` MF+¥€¢"
Freliml'nary Exam: [ ] Probable Cause found; [ ] not found; [ ] waived; [ ] bond continued/denied
AUSA Witnesses: Defendanr Witnesses:

 

 

 

 

 

 

 

AUSA Exhibits: Def`endant Exhibils:
[ ]Prelirninary Exam Hearing set

{ 1 Case to proceed before the Grand Jury

[ ] Case set for Arraignment

 

Arrar'gnment on lq>¢ldictmem or ] Information or [] Superseding lndictment:
Defendant waives reading of: diet [ ] Info [ ] Indict Read [ ] lnfo Read
Defendant pleads: [ ] GUILTY OT GUILTY

[ ] CaSe referred to Probation Department for Presentence Report

[ ] S ntencing set for

Lyése to proceed before Judge t g l @££

[ ] Statement oi`Agent

 

 

Removnl Hearc'ng (Rule 40).'

[ ] Defendant waives Identity Hearing. ; [ ] Defendant waived preliminary examination
[ ] Commitment to Another District Ordered (Rule 40), remove to
[ ] Case set for a

Remarks: Dw.'¢(rw-€ S¢ fb(e..aJ¢J/o/‘ bond un+)'{ ‘{“Q*f‘i

 

 

